







NUMBER 13-00-443-CR



COURT OF APPEALS



THIRTEENTH DISTRICT OF TEXAS



CORPUS CHRISTI


__________________________________________________________________


MANUEL ALCALA HERNANDEZ,	Appellant,


v.



THE STATE OF TEXAS,	Appellee.

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On appeal from the 138th District Court 


of Cameron County, Texas.


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O P I N I O N



Before Chief Justice Seerden and Justices Dorsey and

Rodriguez

Opinion Per Curiam



	Appellant, MANUEL ALCALA HERNANDEZ, attempted to perfect
an appeal from a judgment entered by the 138th District Court of
Cameron County, Texas.  Sentence in this cause was imposed on April
17, 2000.  No timely motion for new trial was filed.   The notice of
appeal was due to be filed on May 17, 2000, but was not filed until
June 28, 2000.   Said notice of appeal is untimely filed. 

	Tex. R. App. P. 26.3 provides that the court of appeals may grant
an extension of time for filing notice of appeal if such notice is filed
within  fifteen days of the last day allowed and within the same period
a motion is filed in the court of appeals reasonably explaining the need
for such extension.  Appellant failed to file his notice of appeal and a
motion requesting an extension of time within such period. 

	The Court, having considered the documents on file and
appellant's failure to timely perfect his appeal,  is of the opinion that the
appeal should be dismissed for want of jurisdiction.  The appeal is
hereby DISMISSED FOR WANT OF JURISDICTION.

									PER CURIAM

Do not publish.

Tex. R. App. P. 47.3.

Opinion delivered and filed this

the 24th day of August, 2000.


